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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

 

MIAMI DIVISION
ALEKSEJ GUBAREV,
XBT HOLDING S.A., and
WEBZILLA, INC. Case No.
Plaintiffs,
0:17-cv-60426-UU
v.

BUZZFEED, lNC. and
BEN SMITH
Defendants.

 

 

PLAINTIFFS’ DA UBERT MOTION TO EXCLUDE THE EXPERT
OPINIONS OF ANTHONY J. FERRANTE

Introduction

_ - doesn’t buy what it used to in an expert witness. In this case, it
apparently does not buy an expert opinion that does What it purported to set out to do, namely
provide any admissible expert testimony that is actually related to the factual issues to be decided
by the jury. And so, recognizing apparently that former FBI agent Anthony Ferrante Would be
unable to find any evidence that Would prove the truth of the actual defamatory statements
published about Plaintiffs by Buzzfeed, Defendants instead instructed Mr. Ferrante to try to
prove statements that, while not actually contained in the defamatory article, might be “close
enough” so that no one Would notice. Specifically, Whereas the defamatory statements accuse
Mr. Gubarev personally of having been pressured by the FSB into using his companies to hack

into the Democratic Party leadership as part of a plot to undermine the United States Presidential

elections _ Defendants instead charged Mr. Ferrante with_

The entirety of Mr. Ferrante’s report, then, is based on proving facts that are not relevant to the

 

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questions to be answered by the jury. And, even if Mr. Ferrante had been investigating relevant
questions, his report cannot support the opinions offered. Because his report does not meet the
requirements for an expert report articulated by the United States Supreme Court in Daubert v.
Merrz`ll Dow Pharms., lnc., 509 U.S. 579 (l993) and Kumho Tire Co., Ltd. v. Carmichael, 526
U.S. 137 (1999) and the requirements of Rule 702 of the Federal Rules of Evidence, Plaintiffs

move to exclude the expert report and opinions of Anthony J. Ferrante in their entirety.

Argument

I. Legal Standard
The admissibility of expert testimony is governed by Federal Rule of Evidence 702,

which states that:

A witness who is qualified as an expert by knowledge, skill, experience, training,
or education may testify in the form of an opinion or otherwise if:
(a) the expert’s scientific, technical, or other specialized knowledge will help
the trier of fact to understand the evidence or to determine a fact in issue;
(b) the testimony is based on sufficient facts or data;
(c) the testimony is the product of reliable principles and methods; and
(d) the expert has reliably applied the principles and methods to the facts of the
case.

Fed. R. Evid. 702.

In Daubert, the Supreme Court addressed the gatekeeping function of the district court to
“ensure that any and all scientific testimony or evidence is not only relevant, but reliable.” 509
U.S. at 589. “The trial judge must determine at the outset, pursuant to Rule 104(a), whether the
expert is proposing to testify to: (l) scientific knowledge that (2) will assist the trier of fact to
understand or determine a fact in issue.” Id. at 592. See, also, United States v. Frazier, 387 F.3d
1244, 1260 (l lth Cir.2004) (“The district court’s role is especially significant since the expert’s
opinion ‘can be both powerful and quite misleading because of the difficulty in evaluating it.’
Indeed, no other kind of witness is free to opine about a complicated matter without any
firsthand knowledge of the facts in the case.” (internal citation omitted) (quoting Daubert, 509
U.S. at 595)).

In Kumho, the Court extended Daubert to non-scientist experts and confirmed that the
Daubert gatekeeping requirement is vital one. As the Supreme Court held in Kumho Tire:

[T]he objective of that requirement is to ensure the reliability and relevancy of
expert testimony. lt is to make certain that an expert, whether basing testimony
upon professional studies or personal experience, employs in the courtroom the

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same level of intellectual rigor that characterizes the practice of an expert in the
relevant field.

Kumho, 526 U.S. at 152.

The Eleventh Circuit, in turn, developed a rigorous three-part test to determine whether to
admit an expert report or opinion under Daubert. See United States v. Frazier, 387 F.3d 1244,
1260 (11th Cir. 2004) (Rule 702 requires a “rigorous three-part inquiry”). “Expert testimony
may be admitted into evidence if: (1) the expert is qualified to testify competently regarding the
matters he intends to address; (2) the methodology by which the expert reaches his conclusions is
sufficiently reliable as determined by the sort of inquiry mandated in Daubert; and (3) the
testimony assists the trier of fact, through the application of scientific, technical, or specialized
expertise, to understand the evidence or to determine a fact in issue.” Cin of Tuscaloosa v.
Harcros Chems., Inc., 158 F.3d 548, 562 (11th Cir. 1998).

The party offering an expert has the burden of satisfying each of these elements by a
preponderance of the evidence. Rink v. Cheminova, Inc. , 400 F.3d 1286, 1292 (11th Cir. 2005).
See, also, Allison v. McGhan Mea'. Corp. , 184 F.3d 1300, 1306 (11th Cir. 1999) (“The burden of
laying the proper foundation for the admission of the expert testimony is on the party offering the
expert, and admissibility must be shown by a preponderance of the evidence.”).

“Even if a witness is qualified as an expert regarding a particular issue, the process used
by the witness in forming his expert opinion must be sufficiently reliable under Daubert and its
progeny.” Bowe v. Pub. Storage, 2015 U.S. Dist. LEXIS 178180 at *18 (S.D. Fla. June 2, 2015).
An expert’s “rank speculation would only unfairly prejudice Plaintiffs by advocating for a
certain result in the guise of offering expert opinions. This is unacceptable.” Id. at *13.

“[A]n expert must, in his report, provide ‘a complete statement of all opinions the witness
will express and the basis and reasons for them.’... [A] naked reference to his own background
is no showing of reliability at all....” Harrison v. Royal Caribbean Cruises, Lta’., 2013 U.S.
Dist. LEXIS 202067, at *7 (S.D. Fla. Nov. 7, 2013) (quoting Fed.R.Civ.P. 26(a)(2)(B)(i))
(emphasis in original).

Where a witness is “‘relying solely or primarily on experience, then the witness must
explain how that experience leads to the conclusion reached, why that experience is a sufficient
basis for the opinion, and how that experience is reliably applied to the facts. The trial court’s
gatekeeping function requires more than simply “taking the expert’s word for it.””’ Ajj?liatz`

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Network, Inc. v. Wanamaker, 2017 U.S. Dist. LEXIS 217403, at *7-8 (S.D. Fla. Aug. 14, 2017)
(quoting Frazier, 387 F.3d at 1261).

II. The Exnert Testimonv of Anthony J. Ferrante is Unreliable and Will Not
Assist the Trier of Fact.

The Ferrante Report, attached hereto as Exhibit 1, is particularly remarkable in one
important respect_: despite being offered as an expert witness
to provide evidence of the truth of the statements made about Plaintiffs in the December Memo,
Mr. Ferrante acknowledges outright that he was not actually asked to render an opinion on _ and
does not render an opinion on _ the allegations made in the December memo concerning
Plaintiffs. Instead, apparently knowing that they would find no evidence to support the actual
allegations rnade in the December Memo, Defendants charged Mr. Ferrante with finding
evidence of what they believed he could find (despite it not being the same as the defamatory
statements made) and, moreover, instructed him specifically to focus solely on the evidence that
painted Plaintiffs in a negative light, and to ignore evidence to the contrary.

More specifically, the December Memo alleged that:

[O]ver the period March-September 2016 a company called XBT/Webzilla and its
affiliates had been using botnets and porn traffic to transmit viruses, plant bugs,
steal data and conduct “altering operations” against the Democratic Party
leadership. Entities linked to one Aleksei GUBAROV [sic] were involved and he
and another hacking expert, both recruited under duress by the FSB, Seva
KAPSUGOVICH, were significant players in this operation. In Prague, COHEN
agreed contingency plans for various scenarios to protect the operations, but in
particular what was to be done in the event that Hillary CLINTON won the
presidency. It was important in this event that all cash payments owed were made
quickly and discreetly and that cyber and that cyber and other operators were stood
down / able to go effectively to ground to cover their traces.

See December Memo, attached as Exhibit 2.
In other words, what the December Memo actually accused Plaintiffs of was: (1) having
been personally involved, albeit under duress in (2) using botnets and porn traffic to (3) transmit

viruses, plant bugs, steal data, and conduct “altering operations” against the Democratic Party

leadership.

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_ pp. 44-47 <Statemem that “Enmies linked to

one Aleksei GUBAROV [sic] were involved and he and another hacking expert, both recruited
under duress by the FSB, Seva KAPSUGOVICH, were significant players in this operation” was

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As an overarching matter, then, Mr. Ferrante’s report should be deemed inadmissible
inasmuch as it fails to meet the relevance requirements of Daubert. To the extent that
Defendants are attempting to prove the truth of the statements contained in the December Memo,

those statements accuse the defendants of directly hacking the Democratic Party leadership under

pressure frerrr she FSB. _
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only would Mr. Ferrante’s testimony “fail to assist” the factfinder in determining an actual “fact
in issue,” it would actively mislead the jury into believing that Mr. Ferrante had discovered
evidence of the truth of the actual statements contained in the December Memo, where he clearly
did not. As such, his testimony must be excluded. See United States v. Frazier, 387 F.3d 1244,
1263 (11th Cir. 2004) (“Because of the powerful and potentially misleading effect of expert
evidence sometimes expert opinions that otherwise meet the admissibility requirements may
still be excluded by applying Rule 403. Exclusion under Rule 403 is appropriate if the probative
value of otherwise admissible evidence is substantially outweighed by its potential to confuse or
mislead the jury.... lndeed, ‘the judge in weighing possible prejudice against probative force
under Rule 403 exercises more control over experts than over lay witnesses.’ Simply put,
expert testimony may be assigned talismanic significance in the eyes of lay jurors, and, therefore,
the district courts must take care to weigh the value of such evidence against its potential to
mislead or confuse.” (citations omitted)); Bowe v. Pub. Storage, 2015 U.S. Dist. LEXIS 178179,
* 12 (S.D. Fla. June 2, 2015) (rejecting expert testimony where expert’s opinion “does not test the
relevant inquiry” and is therefore “irrelevant to any issue before the jury” and “because they
have very little probative value which would be substantially outweighed by their potential to
confuse the jury”).

In addition to the above reasons why Mr. Ferrante’s report must be rejected in its entirety,
the individual opinions proffered by Mr. Ferrante must additionally be rejected for the following

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_ And, although Pla1nt1ffs would obviously want to point this fact out to the
jury if Mr Ferrante were allowed to testify to the jury at all, this conclusion simply serves to

emphasize how Mr. Ferrante’s report does nothing to prove the truth of the allegations contained

 

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in the December Memo, which are the subject of this lawsuit. As such, Mr. Ferrante’s testimony

should be excluded in its entirety.

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U.S. Dist. LEXIS 178180 (S.D. Fla. June 2, 2015):

Skorheim’s opinions are also misleading because they are presented as expert
analysis where they are instead hypothetical musings not grounded in actual facts
or based on any specific methodology, and appear to be Skorheim’s self-directed
Socratic inquiry. Finally, Skorheim’s opinion that Plaintiffs have not produced
sufficient evidence to fairly establish and estimate economic harm is a decision that
the jury can, and will, decide based on the evidence presented. Skorheim’s rank
speculation would only unfairly prejudice Plaintiffs by advocating for a certain
result in the guise of offering expert opinions. This is unacceptable See Evans v.
Mathis Funeral Home, Inc., 996 F.2d 266, 268 (1 lth Cir. 1993) (affirming
exclusion of expert testimony where testimony was within common knowledge of
jurors and testimony was based on assumptions that were not supported by the
record); King v. Cessna Aircraft Co., No. 03-20482-CIV, 2010 U.S. Dist. LEXIS

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50728, 2010 WL 1980861, at *5 (S.D. Fla. May 18, 2010) (“We thus cannot cast a
blind eye to such rank speculation being presented to our jury under the guise of
reliable expert testimony.”).

Ia’. at *13. See, also, Eberlz` v. Cirrus Desz`gn Corp., 615 F. Supp. 2d 1357, 1365 (S.D. Fla. 2009)
(“The fact that the opinion itself merely lists potential causes instead of drawing any conclusion

underscores how speculative it is.”).

This is, then, not simply rank speculation, but rank speculation on
an issue that (even if actual evidence supported Mr. Ferrante’s conclusion) is still not what was

actually alleged about the Plaintiffs in the December Memo.

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In reaching this conclusion, Mr. Ferrante offers no explanation for what experience he is
drawing upon, or how or why it applies to the facts at issue, Instead, he is asking the Court to
“take the expert’s word for it.” See, e.g., United States v. Frazz`er, 387 F.3d 1244, 1261 (11th
Cir. 2004) (“[I]f the witness is relying solely or primarily on experience, then the witness must

explain how that experience leads to the conclusion reached, why that experience is a sufficient

 

 

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basis for the opinion, and how that experience is reliably applied to the facts. The trial court’s
gatekeeping function requires more than simply ‘taking the expert’s word for it.”’); Witt v.
Slryker Corp., 648 F. App'x 867, 873 (11th Cir. 2016) (“The trial court’s gatekeeping function
requires more than simply ‘taking the expert’s word for it.’ If admissibility could be
established merely by the ipse dixit of an admittedly qualified expert, the reliability prong would
be, for all practical purposes, subsumed by the qualification prong.”). Here, too, Mr. Ferrante’s

conclusion must be excluded.

_ Mr. Ferrante does not appear to have any expertise concerning the

running of a hosting company or what contracts hosting companies should enter into, nor does he

cite any source for his opinion or explain how his expertise might make this opinion useful to a

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Ultimately, for each of these alleged malicious events, Mr. Ferrante fails to discuss the
reliability of the sources relied upon and, for the most part, fails to demonstrate how he applied
his expertise to the facts alleged, as opposed to simply repeating statements made by others about
wholly irrelevant matters.

G. Statements from Deposition Testimony
Mr. Ferrante includes a section in his report, pages 28-31, where he reviews the

deposition testimony of two of XBT’s personnel, Mr. Konstantin Bezruchenko and Mr. Marc

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excluded for two reasons. First, the section is irrelevant to the subject at hand _ specifically
whether Webzilla/XBT “had been using botnets and pom trach to transmit viruses, plant bugs,
steal data and conduct ‘altering operations’ against the Democratic Party leadership,” which are
the defamatory statements in this action. See Allison v. McGhan Medical Corp. , 184 F.3d 1300,
1311-12 (11th Cir. 1999) (“The judge’s role is to keep unreliable and irrelevant information from
the jury because of its inability to assist in factual determinations, its potential to create
confusion, and its lack of probative value.”). Second, the entire section is nothing more than Mr.
Ferrante claiming that the Court should “trust him” that_
- Where a witness is “‘relying solely or primarily on experience, then the witness must
explain how that experience leads to the conclusion reached, why that experience is a sufficient
basis for the opinion, and how that experience is reliably applied to the facts. The trial court’s
gatekeeping function requires more than simply “taking the expert’s word for it.””’ Ajjiliati
Network, Inc. v. Wanamaker, 2017 U.S. Dist. LEXIS 217403, at *7-8 (S.D. Fla. Aug. 14, 2017)
(quoting Frazier, 387 F.3d at 1261). Mr. Ferrante has failed to do so and, as such, his testimony

here too must be rejected.

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For the reasons stated hereinabove and in accordance with Daubert v. Merrill Dow
Pharms., Inc., 509 U.S. 579 (1993) and Kumho Tire Co., Ltd. V. Carmichael, 526 U.S. 137
(1999) and FRE 702, this Court should exclude the expert report and opinions of Anthony J.

Ferrante in their entirety.

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Dated: October 15, 2018

Respectfully Submitted:

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